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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE



In re:                                                         Chapter 11

FCC HOLDINGS, INC., et al.,1                                   Case No. 14-11987 (CSS)

                                Debtors.                       (Jointly Administered)


         GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
             AND DISCLAIMERS REGARDING DEBTORS' SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS


                  FCC Holdings, Inc. ("FCC Holdings" or the "Company") and its five domestic direct and

indirect subsidiaries (together with FCC Holdings, the "Debtors") submit their Schedules of Assets and

Liabilities (the "Schedules") and Statements of Financial Affairs (the "Statements" and, together with the

Schedules, the "Schedules and Statements") pursuant to section 521 of the Bankruptcy Code (as defined

below) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

                  On August 25, 2014 (the "Petition Date"), five of the Debtors commenced their

reorganization cases by filing voluntary petitions for relief under chapter 11 of title 11 of the United

States Code (the "Bankruptcy Code") with the United States Bankruptcy Court for the District of

Delaware (the "Bankruptcy Court") and on September 12, 2014, the remaining debtor, Florida Career

College, Inc. filed for relief under the Bankruptcy Code with the Bankruptcy Court. The Debtors'

chapter 11 cases have been consolidated, with the exception of Florida Career College, Inc. that is

pending approval to be jointly administered, for procedural purposes only and are being administered

jointly under case number 14-11987. The Debtors are authorized to operate their businesses as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: FCC Holdings, Inc., a Delaware corporation (6928); Education Training Corporation, a Florida
corporation (1478); High-Tech Institute Holdings, Inc., an Arizona corporation (4628); EduTech Acquisition
Corporation, a Florida corporation (8490); High-Tech Institute, Inc., an Arizona corporation (3099); and Florida
Career College, Inc. The Debtors’ business address is 1000 Corporate Drive, Suite 500, Fort Lauderdale, FL 33334.
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                   The Schedules and Statements were prepared by the Debtors' management and are

unaudited. While those members of management responsible for the preparation of the Schedules and

Statements have made a reasonable effort to ensure that the Schedules and Statements are accurate and

complete based on information known to them at the time of preparation after reasonable inquiries,

inadvertent errors or omissions may exist and/or the subsequent receipt of information may result in

material changes in financial and other data contained in the Schedules and Statements. Accordingly, the

Debtors reserve their right to amend and/or supplement their Schedules and Statements from time to time

as may be necessary or appropriate and they will do so as information becomes available.

                   These Global Notes and Statement of Limitations, Methodology and Disclaimers

Regarding Debtors' Schedules of Assets and Liabilities and Statements of Financial Affairs (the "Global

Notes") are incorporated by reference in, and comprise an integral part of, the Schedules and Statements,

and should be referred to and reviewed in connection with any review of the Schedules and Statements.

                   In the event that the Schedules and Statements differ from the Global Notes, the Global

Notes shall control.

                                            General Comments

    1.             Reservation of Rights. The Debtors reserve the right to dispute, or to assert setoff or

other defenses to, any claim reflected in the Schedules and Statements as to amount, liability and

classification.     The Debtors also reserve all rights with respect to the values, amounts and

characterizations of the assets and liabilities listed in their Schedules and Statements.

    2.             Basis of Presentation. The Schedules and Statements reflect the separate assets and

liabilities of each individual Debtor. For financial reporting purposes, FCC Holdings historically has

prepared consolidated financial statements, which included financial information for all of its subsidiaries

and which in the past have been audited annually. Unlike the consolidated financial information used for

the Company's financial reporting purposes, the Schedules and Statements reflect the assets and liabilities

of each individual Debtor based on such Debtor's unaudited book and tax records. In separating out
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information among Debtors, the Debtors were required to make certain assumptions about the ownership

of assets and responsibility for liabilities of certain Debtors because specific documentation identifying

the particular Debtor that owned an asset or was responsible for a liability was not readily available in

every instance. FCC Holdings does not, other than annually on an unaudited, non-GAAP (defined below)

basis for tax return compliance purposes, prepare individual financial statements for its subsidiaries;

however, the Debtors maintain limited separate, stand-alone accounting records for each Debtor in their

general ledger, with the exception of Florida Career College, Inc. which does not have stand-alone

accounting records. Therefore, audited financial statements and supporting schedules have not been

prepared for each Debtor.      These Schedules and Statements do not purport to represent financial

statements prepared in accordance with Generally Accepted Accounting Principles ("GAAP"), nor are

they intended to reconcile to the financial statements previously distributed to lenders, major creditors or

various equity holders on an intermittent basis. It should also be noted that the Debtors use a consolidated

cash management system through which the Debtors pay substantially all liabilities and expenses.

    3.          The Schedules and Statements have been signed by Sean Harding, Chief Restructuring

Officer and Interim Chief Executive Officer of FCC Holdings, Education Training Corporation, Edutech

Acquisition Corporation, High-Tech Institute Holdings, Inc., High-Tech Institute, Inc. and Florida Career

College Inc. In reviewing and signing the Schedules and Statements, Mr. Harding has necessarily relied

upon the efforts, statements and representations of the accounting and non-accounting personnel located

at the Debtors' offices who report to Mr. Harding, either directly or indirectly, and staff of IEC

Corporation (“IEC”), who purchased certain assets of the Debtors and took control of the finance and

accounting systems prior to the Petition Date. Mr. Harding has not, and could not have, personally

verified the accuracy of each such statement and representation, including statements and representations

concerning amounts owed to creditors.

    4.          Date of Valuations. Except as otherwise noted in the Schedules and Statements, all

liabilities are valued as of the Petition Date and all assets as of July 31, 2014. The Schedules and

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Statements reflect the Debtors' best effort to allocate the assets, liabilities, receipts and expenses to the

appropriate Debtor entity "as of" such dates. All values are stated in United States currency. In some

instances, the Debtors have used estimates or pro-rated amounts where actual data as of the

aforementioned dates was not available. The Debtors have made a reasonable effort to allocate liabilities

between the pre- and post-petition periods based on the information and research that was conducted in

connection with the preparation of the Schedules and Statements. As additional information becomes

available and further research is conducted, the Debtors may modify the allocation of liabilities between

the pre- and post-petition periods and amend the Schedules and Statements accordingly.

    5.          Book Value. Except as otherwise noted, each asset and liability of each Debtor is shown

on the basis of net book value of the asset or liability in accordance with such Debtor's accounting and/or

tax books and records as of (i) July 31,2014 for asset values and (ii) the Petition Date for liability values.

Therefore, unless otherwise noted, the Schedules are not based upon any estimate of the current market

values of the Debtors' assets and liabilities, which may not correspond to book values. It would be cost

prohibitive and unduly burdensome to obtain current market valuations of the Debtors' property interests.

    6.          Except as otherwise noted, the Debtors' assets are presented, in detail, as they appear on

the Debtors' accounting sub-ledgers. As such, the detail includes error corrections and value adjustments

(shown as negative values or multiple line items for an individual asset ID). The Debtors believe that

certain of their assets, including (i) intangibles and goodwill with indefinite life, which currently account

for approximately $159 million of the aggregate value of the Debtors' assets and (ii) certain owned

property may have been significantly impaired by, among other things, the events leading to, and the

commencement of, the Debtors' chapter 11 cases. The Debtors have not yet formally evaluated the

appropriateness of the carrying values ascribed to their assets prior to the Petition Date, but expect that

they will need to re-evaluate such values during their chapter 11 cases and take appropriate impairment

charges, in accordance with GAAP, to accurately reflect the carrying values.




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    7.           Property and Equipment – Owned. Owned property and equipment are recorded at

cost.     Depreciation and amortization are calculated based on common depreciation methods and

depreciable periods ranging from 3 to 31.5 years. Although accelerated depreciation methods may be

used for tax reporting purposes, the Schedules and Statements reflect straight-line methods.

    8.           Causes of Action. The Debtors have made their best efforts to set forth known causes of

action against third parties as assets in their Schedules and Statements. The Debtors reserve all of their

rights with respect to causes of action they may have, whether disclosed or not disclosed, and neither

these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such causes of

action.

    9.           Litigation.   Certain litigation actions (the "Litigation Actions") reflected as claims

against a particular Debtor may relate to any of the other Debtors. The Debtors have made reasonable

efforts to accurately record the Litigation Actions in the Schedules and Statements of the Debtor that is

the party to the Litigation Action. The inclusion of any Litigation Action in these Schedules and

Statements does not constitute an admission by the Debtors of liability, the validity of any Litigation

Action or the amount of any potential claim that may result from any claims with respect to any Litigation

Action and the amount and treatment of any potential claim resulting from any Litigation Action currently

pending or that may arise in the future.

    10.          Application of Vendor Credits. In the ordinary course of their businesses, the Debtors

apply credits against amounts otherwise due to vendors. These credits arise because, among other

matters, (i) materials ordered and paid for may not be delivered, (ii) materials delivered may be damaged

or unusable and (iii) vendors provide volume rebates and cash discounts. Certain of these credits are

subject to change. Vendor claims are listed at the amounts entered on the Debtors' books and records,

which may or may not reflect credits or allowances due from such creditors to the Debtors. The Debtors

reserve all of their rights respecting such credits and allowances.



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    11.          Claims.    Certain of the Debtors' Schedules list creditors and set forth the Debtors'

estimate of the claims of creditors as of the Petition Date. The claim amounts reflected on the Schedules

may include the Debtors' estimates for vendor charges not yet invoiced. By estimating certain invoices,

the Debtors are not representing that they have sought to identify and estimate all un-invoiced vendor

charges. To the extent that a claim of a particular vendor is an aggregate of multiple invoices, the Debtors

have reflected the claim with a date of "various."

    12.          The Debtors intentionally have not included "non-cash" accruals, i.e. accruals to

recognize expense or liability over multiple periods where no specific obligation to perform is

established, such as accruals to equalize lease payments, in the Schedules and Statements.

    13.          The Bankruptcy Court has authorized the Debtors, among other matters, to (i) continue

certain customer practices, (ii) pay prepetition wages, salaries, employee benefits and other related

obligations, (iii) pay certain priority claims in the ordinary course of business, (iv) pay certain prepetition

sales, use and other taxes, (v) make certain utility payments, While the Debtors have made their best

efforts to reflect the claims, by vendor, net of these various adjustments as well as "vendor credits"

discussed above, the actual unpaid claims of creditors that may be allowed in these cases may differ from

the amounts set forth in the Schedules and Statements. Moreover, the Debtors have not attempted to

reflect any alleged recoupments in the claims of utility companies or other parties holding prepetition

deposits that may assert (or have asserted) a recoupment right.

    14.          Any failure to designate a claim listed on a Debtor's Schedule as "disputed,"

"contingent," "or "unliquidated" does not constitute an admission by the Debtors that the claim is not

"disputed," "contingent," or "unliquidated." The Debtors reserve the right to (i) object to or otherwise

dispute or assert setoff rights, cross-claims, counterclaims or defenses to, any claim reflected on the

Schedules as to amount, liability or classification or (ii) otherwise to designate subsequently any claim as

"disputed," "contingent" or "unliquidated."



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    15.         Employee Claims. The Bankruptcy Court entered an order granting authority to, but not

requiring, the Debtors to pay prepetition employee wages, salaries, benefits and other related obligations.

The Debtors currently expect that most prepetition employee claims for wages, salaries, benefits and

other related obligations either have been paid or will be paid in the ordinary course of business and

therefore, the Schedules and Statements do not include such claims.

    16.         Intercompany Payables/Receivables. For purposes of these Schedules and Statements,

the Debtors have reported intercompany payables and receivables on Schedules B-16 and F as a net

balance payable or receivable between the various Debtors.

                                                Schedules

                                        Schedule A – Real Property:

    17.         In the ordinary course of their businesses, the Debtors lease certain real property from

third-party lessors. The improvements to these real property leases are reflected in Schedule A due to the

long-term, capitalized nature of the underlying leases.

                                       Schedule B – Personal Property

    18.         Item 9 – Interests in Insurance Policies. The Company maintains certain life insurance

policies whose cash surrender values support the estimated value of the Company’s non- qualified

deferred compensation plan.

    19.          Item 13 – Stock and Interests in Incorporated and Unincorporated Businesses. Each

Debtor's Schedule B includes its ownership interests, if any, in subsidiaries and partnerships. In general,

the value of such stock is dependent upon the calculated value of the underlying subsidiaries' equity and

profits and losses over time.     Since (i) investment in subsidiaries and intercompany balances are

maintained on a subsidiary-by-subsidiary basis in FCC Holdings' general ledger and (ii) the Debtors did

not undertake a historical analysis to assign values to the subsidiary stock, the value of the subsidiary

stock is listed as the Company’s last assigned amount on an unaudited basis.

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    20.          Item 16 – Accounts Receivable. Because the Company’s accounts receivable balances

reflect confidential, student protected information, the accounts receivable balances are reported in the

aggregate only. Further, the accounts receivable balances are reported at an aggregate basis on the

Company’s general ledger. Furthermore, certain accounts receivable balances reflect intercompany

receivable amounts from other subsidiaries.

    21.          The Company extends unsecured credit for tuition to a significant portion of its students.

Historically, a substantial portion of credit extended to students has been repaid through the students’

participation in various federally funded student financial aid programs under Title IV Programs. The

Company generally completes and has received approval of the financial aid packet of each student who

qualifies for financial aid prior to the student’s beginning class in an effort to enhance the collectability of

its unsecured credit. Transfers of funds from financial aid programs to the Company are made in

accordance with DOE requirements. Receivables are recorded only to the extent that the related revenue

has been earned.

    22.          Notes receivable represent loans to students to assist in financing balances remaining

after they have exhausted all Title IV Program funds and other alternative funding sources. The loans

provide for monthly payments while a student is actively enrolled and generally mature either upon

graduation or up to 84 months subsequent to a student’s graduation date. Interest is generally charged at

13% or 18% from the initiation of the loan. Interest income is recognized on all outstanding notes

receivable. Any cash collected is applied to interest first. If a student withdraws from the college and the

loan becomes inactive, the Company no longer accrues interest income. For all notes receivable, net of

allowances, the Company believes collectability is reasonably assured.

    23.          .Item 23 – Licenses, Franchises, and Other Intangibles. The Debtors have made their best

efforts to list all Licenses, Franchises, and Other Intangibles as reported on the general ledger. However,

as mentioned in the “Book Value” section above, these values may be overstated as a result of the events

leading up to, the commencement of these chapter 11 cases.

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    24.         Item 28 – Office Equipment Furnishing and Supplies. The Company does not maintain

Book Value on an intermittent basis. The Book Value is estimated based on the ending Book Value as of

July 31, 2014 and an estimated depreciation amount for 24 days, up to the Petition Date.

    25.         Item 29 – Machinery, Fixtures, Equipment, and Supplies Used in Business. The Debtors

do not maintain an individual schedule for Machinery, Fixtures, Equipment, and Supplies Used in

Business. These items are reflected in Item 28.

    26.         Item 30 – Inventory. Inventories are valued at book value.         Inventory balances were

only available at the consolidated basis by location and do not reflect an audited cycle-count.

    27.         Item 35 – Other Personal Property. The Debtors maintain Other Personal Property

including prepaid expenses, prepaid insurance, prepaid rent, goodwill, and other items. These are

reflected on an aggregate basis.

                          Schedule D – Creditors Holding Secured Claims: .

    28.         Except as otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to

dispute or challenge the validity, perfection or immunity from avoidance of any lien purported to be

granted or perfected in any specific asset for the benefit of a secured creditor listed on a Debtor's

Schedule D. Moreover, although the Debtors may have scheduled claims of various creditors as secured

claims, the Debtors reserve all rights to dispute or challenge the secured nature of any such creditor's

claim or the characterization of the structure of any such transaction or any document or instrument

(including without limitation, any intercompany agreement) related to such creditor's claim.

    29.         In certain instances, a Debtor may be a co-obligor, co-mortgagor or guarantor with

respect to scheduled claims of other Debtors. No claim set forth on the Schedule D of any Debtor is

intended to acknowledge claims of creditors that are otherwise satisfied or discharged.

    30.         The descriptions provided in Schedule D are intended only to be a summary. Reference

to the applicable loan agreements and related documents is necessary for a complete description of the

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collateral and the nature, extent and priority of any liens. Nothing in the Global Notes or the Schedules

and Statements shall be deemed a modification or interpretation of the terms of such agreements.

                      Schedule E – Creditors Holding Unsecured Priority Claims

    31.         Certain of the claims of state and local taxing authorities set forth in Schedule E, which

the Debtors have designated as contingent, disputed and unliquidated, ultimately may be deemed to be

secured claims pursuant to state or local laws.

    32.         Certain of the claims owing to various taxing authorities to which the Debtors may be

liable may be subject to ongoing audits. The Debtors reserve their right to dispute or challenge whether

claims owing to various taxing authorities are entitled to priority, and the listing of any claim on

Schedule E does not constitute an admission that such claim is entitled to priority treatment pursuant to

section 507 of the Bankruptcy Code.

                   Schedule F - Creditors Holding Unsecured Non-Priority Claims

    33.         Schedule F does not include certain deferred charges, deferred liabilities or general

reserves. Such amounts are general estimates of liabilities and do not represent specific claims as of the

Petition Date; however, they may be reflected on the Debtors’ books and records as required in

accordance with GAAP.

    34.         The claims listed in Schedule F arose or were incurred on various dates. In certain

instances, the date on which a claim arose is an open issue of fact. While reasonable efforts have been

made to determine the date upon which each claim in Schedule F was incurred or arose, making all such

determinations would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a

date for each claim listed on Schedule F.

    35.         In addition, certain claims listed on Schedule F may be entitled to priority under 11

U.S.C. § 503(b)(9). The Debtors have made their best efforts to include all trade creditors on Schedule F;



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however, the Debtors believe there are instances where vendors have yet to provide proper invoices for

prepetition goods or services.

                         Schedule G – Executory Contracts and Unexpired Leases

    36.            The businesses of the Debtors are complex and, while every effort has been made to

ensure the accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtors

hereby reserve all of their rights to (i) dispute the validity, status or enforceability of any contracts,

agreements or leases set forth in Schedule G and (ii) amend or supplement such Schedule as necessary.

Furthermore, the Debtors reserve all of their rights, claims and causes of action with respect to the

contracts and agreements listed on these Schedules, including the right to dispute or challenge the

characterization or the structure of any transaction, document or instrument. The presence of a contract or

agreement on Schedule G does not constitute an admission that such contract or agreement is an

executory contract or unexpired lease.

    37.            The contracts, agreements and leases listed on Schedule G may have expired or may have

been modified, amended or supplemented from time to time by various amendments, restatements,

waivers, estoppel certificates, letter and other documents, instruments and agreements that may not be

listed therein.

    38.            Certain of the real property leases listed on Schedule G may contain renewal options,

guarantees of payments, options to purchase, rights of first refusal, rights to lease additional space and

other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on Schedule G.

    39.            Certain of the executory agreements may not have been memorialized and could be

subject to dispute. Executory agreements that are oral in nature have been scheduled to the best of the

Debtors' knowledge. Because most of the Debtors' purchase orders are short term and have been or will

soon be fully performed, Schedule G does not include purchase orders in existence as of the Petition Date.




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    40.         Additionally, the Debtors may be parties to various other agreements concerning real

property, such as easements, rights of way, subordination, non-disturbance, supplemental agreements,

amendments/letter agreements, title documents, consents, site plans, maps and other miscellaneous

agreements. Such agreements, if any, are not set forth in Schedule G. Certain of the agreements listed on

Schedule G may be in the nature of conditional sales agreements or secured financings.

    41.         Listing a contract or agreement on this schedule does not constitute an admission that

such contract or agreement is an executory contract or unexpired lease. Any and all of the Debtors’

rights, claims, and causes of action with respect to the contracts and agreements listed on this schedule are

hereby reserved and preserved. Similarly, the listing of a contract or lease on this schedule does not

constitute admission that such document is not a secured financing.

                                 Notes to Statement of Financial Affairs

    42.         SOFA 1: Income from Operations of Business. July 2014 through August 24, 2014

represents a preliminary estimate of income.

    43.         SOFA 3b: Payments to Creditors. As indicated above, the Debtors maintain day-to-day,

stand-alone financial records for each legal entity except for certain tax return compliance issues.

However, the Debtors process all of their disbursements through a consolidated, centralized processing

facility with all disbursements being made out only two entities, Education Training Corporation (“ETC”)

and EduTech Acquisition Corporation (“EDU”). Consequently, for purposes of these Schedules and

Statements, the Debtors have attempted to allocate and assign the payments made to creditors in the 90

days preceding the Petition Date to the individual Debtor entities based on (i) the nature of the payment

and (ii) the entity receiving the benefit of the payment. The responses to this question 3b reflect the

creditor's payment activity by payment date as opposed to cleared date and by vendor/creditor code as it

appears in the Debtors' payment register. As such, the information includes associated credit memo

information. It does not reflect any subsequent stop payment of void information. Neither does it reflect

any payroll/payroll tax related payments during the 90 days preceding the Petition Date. The analysis of
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the creditor payments related to the $6,225 threshold was completed based on the consolidated creditor

information prior to allocating and assigning the payments to the individual Debtors. Therefore, a

response to question 3b may include creditors with aggregated payment amounts of less than $6,225.

    44.         SOFA 9: Payments Related to Debt Counseling or Bankruptcy. All payments relating to

bankruptcy professionals have been made by ETC on behalf of all of the Debtors.

    45.         SOFA 19a: Bookkeepers. The list of accounting staff includes former FCC personnel

and personnel who were subsequently employed by IEC on August 22, 2014. In addition, the Chief

Financial Officer of IEC has been listed but 19a does not include the names of additional accounting staff

of IEC that may be responsible for the books and records of FCC as those names are not readily available.

    46.         SOFA 19b: Grant Thornton, LLP, since July 2012, has been, and continues to be, the

Debtors' auditor and also provides income tax compliance and consulting work to the Debtors.

    47.         SOFA 19d: From time to time, the Debtors provided financial statements in the ordinary

course of business to certain parties for business, statutory, credit, financing and other reasons.

Recipients have included regulatory agencies, financial institutions, investment banks, customers,

vendors, unions, debt holders and their legal and financial advisors. Additionally, financial statements

have been provided to other parties as requested. Rather than provide an extensive list of financial

statement recipients (a process that would prove onerous for the Debtors), the Debtors offer this Global

Note.

    48.         SOFA 23: The Debtors have reflected payments and distributions to insiders on the

Statement of each Debtor, as applicable. The amounts presented on the Statements are reflective of the

net payments received by each of the reported insiders.

                                   ***END OF GLOBAL NOTES***

           **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**




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B 6 Summary (Official Form 6 - Summary) (12/13)



                                      UNITED STATES BANKRUPTCY COURT
                                                                   District of Delaware

In re:    FCC Holdings, Inc.                                                              Case No.         14-11987
                                         Debtor
                                                                                          Chapter 11


                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J
in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain
Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.



                                         ATTACHED         NO. OF
         NAME OF SCHEDULE                 (YES/NO)        SHEETS                 ASSETS                       LIABILITIES                       OTHER


A. Real Property                               N               1


B. Personal Property                           Y               6              $203,351,716.41


C. Property Claimed as Exempt                N/A


D. Creditors Holding Secured                   Y               2                                               $47,630,117.66
Claims

E. Creditors Holding                           Y               3                                                            $0.00
Unsecured Priority Claims

F. Creditors Holding                           N               1
Unsecured Non-Priority Claims

G. Executory Contracts and                     N               1
Unexpired Leases

H. Co-Debtors                                  Y               5


I. Current Income of Debtor                  N/A


J. Current Expenditures of                   N/A
Debtor

                                      TOTAL                   19              $203,351,716.41                  $47,630,117.66
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B6A (Official Form 6A) (12/07)


In re:    FCC Holdings, Inc.                                                                Case No.          14-11987
                                          Debtor                                                                                    (If known)


                                             SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own
benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the
column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold
a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed
as Exempt.

                                                                                                                CURRENT VALUE
                                                                                                                  OF DEBTOR’S
                       DESCRIPTION AND                                    NATURE OF DEBTOR’S                      INTEREST IN                      AMOUNT OF
                         LOCATION OF                                     INTEREST IN PROPERTY                 PROPERTY, WITHOUT                     SECURED
                          PROPERTY                                                                              DEDUCTING ANY                        CLAIM
                                                                                                                SECURED CLAIM
                                                                                                                 OR EXEMPTION

NONE

                                                                                            Total
                                                                                            (Report also on Summary of Schedules.)




In re: FCC Holdings, Inc.                                                                                                                  Schedule A - Real Property
Case No. 14-11987                                                                                                                                          Page 1 of 1
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B6B (Official Form 6B) (12/07)


In re:    FCC Holdings, Inc.                                                                Case No.          14-11987
                                          Debtor                                                                                    (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
          Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the
property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is
filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property
is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                    CURRENT VALUE OF
                                                                                                                                    DEBTOR’S INTEREST
                      TYPE OF PROPERTY                                   NONE       DESCRIPTION AND LOCATION                      IN PROPERTY, WITHOUT
                                                                                          OF PROPERTY                                 DEDUCTING ANY
                                                                                                                                      SECURED CLAIM
                                                                                                                                      OR EXEMPTION

1. Cash on hand.                                                            X

2. Checking, savings or other financial accounts,                           X
certificates of deposit or shares in banks, savings and
loan, thrift, building and loan, and homestead
associations, or credit unions, brokerage houses, or
cooperatives.

3. Security deposits with public utilities, telephone                       X
companies, landlords, and others.

4. Household goods and furnishings, including audio,                        X
video, and computer equipment.

5. Books; pictures and other art objects; antiques;                         X
stamp, coin, record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                                         X

7. Furs and jewelry.                                                        X

8. Firearms and sports, photographic, and other hobby                       X
equipment.

9. Interests in insurance policies. Name insurance                          X
company of each policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name each issuer.                                X

In re: FCC Holdings, Inc.                                                                                                              Schedule B - Personal Property
Case No. 14-11987                                                                                                                                          Page 1 of 3
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                                                                                                  CURRENT VALUE OF
                                                                                                  DEBTOR’S INTEREST
                     TYPE OF PROPERTY                         NONE   DESCRIPTION AND LOCATION   IN PROPERTY, WITHOUT
                                                                           OF PROPERTY              DEDUCTING ANY
                                                                                                    SECURED CLAIM
                                                                                                    OR EXEMPTION

11. Interests in an education IRA as defined in 26             X
U.S.C. § 530(b)(1) or under a qualified State tuition
plan as defined in 26 U.S.C. § 529(b)(1). Give
particulars. (File separately the record(s) of any such
interest(s). 11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or other pension           X
or profit sharing plans. Give particulars.

13. Stock and interests in incorporated and                              See Schedule B13                 $197,317,663.73
unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures. Itemize.      X

15. Government and corporate bonds and other                   X
negotiable and nonnegotiable instruments.

16. Accounts receivable.                                                 See Schedule B16                    $4,157,692.00

17. Alimony, maintenance, support, and property                X
settlements to which the debtor is or may be entitled.
Give particulars.

18. Other liquidated debts owed to debtor including            X
tax refunds. Give particulars.

19. Equitable or future interests, life estates, and rights    X
or powers exercisable for the benefit of the debtor
other than those listed in Schedule A – Real Property.

20. Contingent and noncontingent interests in estate of        X
a decedent, death benefit plan, life insurance policy, or
trust.

21. Other contingent and unliquidated claims of every          X
nature, including tax refunds, counterclaims of the
debtor, and rights to setoff claims. Give estimated
value of each.

22. Patents, copyrights, and other intellectual property.      X
Give particulars.

23. Licenses, franchises, and other general intangibles.       X
Give particulars.




In re: FCC Holdings, Inc.                                                                         Schedule B - Personal Property
Case No. 14-11987                                                                                                    Page 2 of 3
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                                                                                                      CURRENT VALUE OF
                                                                                                      DEBTOR’S INTEREST
                     TYPE OF PROPERTY                     NONE     DESCRIPTION AND LOCATION         IN PROPERTY, WITHOUT
                                                                         OF PROPERTY                    DEDUCTING ANY
                                                                                                        SECURED CLAIM
                                                                                                        OR EXEMPTION

24. Customer lists or other compilations containing         X
personally identifiable information (as defined in 11
U.S.C. § 101(41A)) provided to the debtor by
individuals in connection with obtaining a product or
service from the debtor primarily for personal, family,
or household purposes.

25. Automobiles, trucks, trailers, and other vehicles       X
and accessories.

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and supplies.            X

29. Machinery, fixtures, equipment, and supplies used       X
in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give particulars.         X

33. Farming equipment and implements.                       X

24. Customer lists or other compilations containing         X
personally identifiable information (as defined in 11
U.S.C. § 101(41A)) provided to the debtor by
individuals in connection with obtaining a product or
service from the debtor primarily for personal, family,
or household purposes.

35. Other personal property of any kind not already                      See Schedule B35                        $1,876,360.68
listed. Itemize.
                                                                                        Total                 $203,351,716.41
                                                           (Include amounts from any continuation
                                                           sheets attached. Report total also on
                                                           Summary of Schedules.)




In re: FCC Holdings, Inc.                                                                             Schedule B - Personal Property
Case No. 14-11987                                                                                                        Page 3 of 3
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In re:   FCC Holdings, Inc.                                               Case No.   14-11987
                                  Debtor                                                                (If known)


                                 SCHEDULE B13 - STOCK AND INTERESTS

                ENTITY                                   ADDRESS                     PERCENT OF                      AMOUNT
                                                                                     OWNERSHIP
Education Training Corporation             1000 Corporate Dr.                           100%                         $197,317,663.73
                                           Suite 500
                                           Fort Lauderdale, FL 33334
                                                                                                Total                $197,317,663.73




                                                                                                                            Page 1 of 1
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In re:   FCC Holdings, Inc.                                              Case No.    14-11987
                                 Debtor                                                                  (If known)


                              SCHEDULE B16 - ACCOUNTS RECEIVABLE

               COMPANY                                  ADDRESS                 TYPE OF RECEIVABLE         RECEIVABLE BALANCE

Education Training Corporation            1000 Corporate Dr.                   Intercompany Receivable                $4,157,692.00
                                          Suite 500                                   from ETC
                                          Fort Lauderdale, FL 33334
                                                                                                Total                 $4,157,692.00




                                                                                                                           Page 1 of 1
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In re:   FCC Holdings, Inc.                            Case No.     14-11987
                               Debtor                                              (If known)


                          SCHEDULE B35 - OTHER PERSONAL PROPERTY

                      DESCRIPTION                        LOCATION                        BOOK VALUE

Deferred Financing Cost                                                                         $1,876,360.68
                                                                           Total                $1,876,360.68




                                                                                                     Page 1 of 1
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B6D (Official Form 6D) (12/07)


In re:    FCC Holdings, Inc.                                                        Case No.       14-11987
                                       Debtor                                                                          (If known)


               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the
husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled
“Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than
one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                      DATE CLAIM WAS                             AMOUNT OF            UNSECURED
             CREDITOR’S NAME AND                                         INCURRED,               (C)ONTIN-         CLAIM              PORTION, IF
                MAILING ADDRESS                            CO-        NATURE OF LIEN ,             GENT,          WITHOUT                ANY
            INCLUDING ZIP CODE AND                       DEBTOR       AND DESCRIPTION           (U)NLIQUI-       DEDUCTING
              AN ACCOUNT NUMBER                                        AND VALUE OF             DATED OR           VALUE
              (See Instructions Above.)                                  PROPERTY               (D)ISPUTED           OF
                                                                      SUBJECT TO LIEN                            COLLATERAL
Community & Southern Bank                                    X      Credit Agreement                              $4,070,050.13              Unknown
3333 Riverwood Pkwy                                                 11/02/2012; Amended
Ste 350                                                             04/29/2014; Term B
Atlanta, GA 30339                                                   Loans
C1 Bank                                                      X      Credit Agreement                              $1,614,103.90              Unknown
100 5th Street South                                                11/02/2012; Amended
St. Petersburg, FL 33701                                            04/29/2014; Term B
                                                                    Loans
Congressional Bank                                           X      Credit Agreement                              $5,382,621.53              Unknown
6701 Democracy Blvd, Suite 400                                      11/02/2012; Amended
Bethesda, MD 20817                                                  04/29/2014; Term B
                                                                    Loans
GCP Anthem, LLC                                              X      04/29/2014; Term A                              $390,369.19              Unknown
600 Lexington Ave.                                                  Loans
31st Floor
New York, NY 10022
Abrams Capital Partners I, LP                                X      04/29/2014; Term A                            $5,790,489.17              Unknown
21st floor                                                          Loans
Boston, MA 02116
Abrams Capital Partners II, LP                               X      04/29/2014; Term A                            $3,228,846.15              Unknown
21st floor                                                          Loans
Boston, MA 02116
Whitecrest Partners, LP                                      X      04/29/2014; Term A                            $7,675,000.00              Unknown
21st floor                                                          Loans
Boston, MA 02116

In re: FCC Holdings, Inc.                                                                                 Schedule D - Creditors Holding Secured Claims
Case No. 14-11987                                                                                                                           Page 1 of 2
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                                                       DATE CLAIM WAS                       AMOUNT OF             UNSECURED
             CREDITOR’S NAME AND                          INCURRED,         (C)ONTIN-         CLAIM               PORTION, IF
                MAILING ADDRESS               CO-      NATURE OF LIEN ,       GENT,          WITHOUT                 ANY
            INCLUDING ZIP CODE AND          DEBTOR     AND DESCRIPTION     (U)NLIQUI-       DEDUCTING
              AN ACCOUNT NUMBER                         AND VALUE OF       DATED OR           VALUE
              (See Instructions Above.)                   PROPERTY         (D)ISPUTED           OF
                                                       SUBJECT TO LIEN                      COLLATERAL
Great Hollow International, LP                  X    04/29/2014; Term A                         $429,364.33             Unknown
21st floor                                           Loans
Boston, MA 02116
Riva Capital Partners, LP                       X    04/29/2014; Term A                         $650,129.31             Unknown
21st floor                                           Loans
Boston, MA 02116
Education Lender, LLC                           X    04/29/2014; Term A                         $414,648.00             Unknown
19 W. Elm Street                                     Loans
Greenwich, CT 06830
Bank of Montreal                                X    Credit Agreement                         $8,566,835.01             Unknown
115 South LaSalle Street                             11/02/2012; Amended
Chicago, IL 60603                                    04/29/2014; Term B
                                                     Loans
Synovus Bank                                    X    Credit Agreement                         $5,382,621.53             Unknown
12450 Roosevelt Blvd N                               11/02/2012; Amended
St Petersburg, FL 33716                              04/29/2014; Term B
                                                     Loans
BancAlliance Inc.                               X    Credit Agreement                         $4,035,039.41             Unknown
4445 Willard Avenue Suite 1100                       11/02/2012; Amended
Chevy Chase, MD 20815                                04/29/2014; Term B
                                                     Loans
                                                                              Total          $47,630,117.66




In re: FCC Holdings, Inc.                                                             Schedule D - Creditors Holding Secured Claims
Case No. 14-11987                                                                                                       Page 2 of 2
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 B6E (Official Form 6E) (04/13)


In re:     FCC Holdings, Inc.                                                      Case No.        14-11987
                                       Debtor                                                                          (If known)


            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
      A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders
of unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each
with the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P.
1007(m).

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband,
wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is
unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed."
(You may need to place an "X" in more than one of these three columns.)

     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of
all amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule.
Individual debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.


         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

         Domestic Support Obligations
   Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal
guardian, or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the
extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the
original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
   Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or
the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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      Certain farmers and fishermen
   Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


      Deposits by individuals
   Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or
household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
   Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


      Commitments to Maintain the Capital of an Insured Depository Institution
   Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
U.S.C. § 507 (a)(9).

      Claims for Death or Personal Injury While Debtor Was Intoxicated
   Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                       1     continuation sheets attached
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B6E (Official Form 6E) (04/13) - Cont.


In re:    FCC Holdings, Inc.                                                                 Case No.           14-11987
                                         Debtor                                                                                  (If known)


 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                     (Continuation Sheet)

                                                                                                              Type of Priority Claims Listed on This Sheet

                                                                                                                                                  AMOUNT
              CREDITOR’S NAME,                              DATE CLAIM WAS                     (C)ONTIN-                          AMOUNT            NOT
              MAILING ADDRESS                          CO-   INCURRED AND                        GENT,            AMOUNT          ENTITLED       ENTITLED
            INCLUDING ZIP CODE,                      DEBTOR CONSIDERATION                     (U)NLIQUI-            OF               TO              TO
           AND ACCOUNT NUMBER                                  FOR CLAIM                      DATED OR             CLAIM          PRIORITY       PRIORITY,
             (See instructions above.)                                                        (D)ISPUTED                                           IFANY

COLORADO DEPT. OF REVENUE                                             Various -                   C, U, D                $0.00           $0.00        $0.00
1375 Sherman Street                                               Government Taxing
Denver, CO 80261-0008                                                Authorities
Colorado Dept. Of Revenue
DELAWARE SECRETARY OF STATE                                           Various -                   C, U, D                $0.00           $0.00        $0.00
401 Federal St                                                    Government Taxing
Dover, DE 19901                                                      Authorities
Delaware Secretary Of State
FLORIDA DEPARTMENT OF REVENUE                                         Various -                   C, U, D                $0.00           $0.00        $0.00
5050 W. Tennessee street                                          Government Taxing
Tallahassee, FL 32399-0135                                           Authorities
Florida Department Of Revenue
TEXAS STATE COMPTROLLER                                               Various -                   C, U, D                $0.00           $0.00        $0.00
P.O. Box 149348                                                   Government Taxing
Austin, TX 78714                                                     Authorities
Texas State Comptroller
INTERNAL REVENUE SERVICE                                              Various -                   C, U, D                $0.00           $0.00        $0.00
Ogden, UT 84201-0039                                              Government Taxing
Internal Revenue Service                                             Authorities
California Franchise Tax Board                                        Various -                   C, U, D                $0.00           $0.00        $0.00
P.O. Box 942857                                                   Government Taxing
Sacramento, CA 94257                                                 Authorities
California Franchise Tax Board
                                                                                                      Total             $0.00
                                                                 (Use only on last page of the completed
                                                                 Schedule E. Report also on the Summary
                                                                 of Schedules.)

                                                                                                      Total                             $0.00         $0.00
                                                                 (Use only on last page of the completed
                                                                 Schedule E. If applicable, report also on
                                                                 the Statistical Summary of Certain
                                                                 Liabilities and Related Data.)




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors Holding Priority Claims
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B6F (Official Form 6F) (12/07)


In re:       FCC Holdings, Inc.                                                   Case No.       14-11987
                                       Debtor                                                                        (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any
account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor
child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in
Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include
the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband,
wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband,
 Wife, Joint, or Community.”

      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than
one of these three columns.)

       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this
total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.

         X     Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                          DATE CLAIM WAS                                      AMOUNT OF
                      CREDITOR’S NAME,                                     INCURRED AND       (C)ONTIN-                         CLAIM
                      MAILING ADDRESS                              CO-  CONSIDERATION FOR       GENT,
                    INCLUDING ZIP CODE,                          DEBTOR        CLAIM.        (U)NLIQUI-
                   AND ACCOUNT NUMBER                                   IF CLAIM IS SUBJECT DATED OR
                     (See instructions above.)                                   TO         (D)ISPUTED
                                                                         SETOFF, SO STATE.
NONE

                                                                                                            Total




In re: FCC Holdings, Inc.                                                                 Schedule F - Creditors Holding Unsecured Nonpriority Claims
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B 6G (Official Form 6G) (12/07)


In re:       FCC Holdings, Inc.                                                   Case No.        14-11987
                                       Debtor                                                                        (If known)


               SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
       Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


         X     Check this box if debtor has no executory contracts or unexpired leases.


                   NAME AND MAILING ADDRESS,                                          DESCRIPTION OF CONTRACT OR LEASE AND
                       INCLUDING ZIP CODE,                                             NATURE OF DEBTOR’S INTEREST. STATE
             OF OTHER PARTIES TO LEASE OR CONTRACT                                    WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                                         REAL PROPERTY. STATE CONTRACT
                                                                                      NUMBER OF ANY GOVERNMENT CONTRACT

NONE




In re: FCC Holdings, Inc.                                                                       Schedule G - Executory Contracts and Unexpired Leases
Case No. 14-11987                                                                                                                         Page 1 of 1
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B 6H (Official Form 6H) (12/07)


In re:    FCC Holdings, Inc.                                                     Case No.       14-11987
                                     Debtor                                                                         (If known)


                                               SCHEDULE H - CO-DEBTORS
       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
listed by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of
the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


             Check this box if debtor has no codebtors.


                 NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

Education Training Corporation                                           C1 Bank
1000 Corporate Dr.                                                       100 5th Street South
Suite 500                                                                St. Petersburg, FL 33701
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                                          C1 Bank
16404 N. Black Canyon HWY                                                100 5th Street South
Phoenix, AZ 85053                                                        St. Petersburg, FL 33701
High-Tech Institute Holdings, Inc.                                       C1 Bank
1000 Corporate Dr.                                                       100 5th Street South
Suite 500                                                                St. Petersburg, FL 33701
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                                C1 Bank
16404 N. Black Canyon HWY                                                100 5th Street South
Phoenix, AZ 85053                                                        St. Petersburg, FL 33701
FCC Holdings, Inc                                                        C1 Bank
1000 Corporate Dr.                                                       100 5th Street South
Suite 500                                                                St. Petersburg, FL 33701
Fort Lauderdale, FL 33334
Education Training Corporation                                           Community & Southern Bank
1000 Corporate Dr.                                                       3333 Riverwood Pkwy
Suite 500                                                                Ste 350
Fort Lauderdale, FL 33334                                                Atlanta, GA 30339
EduTech Acquisition Corporation                                          Community & Southern Bank
16404 N. Black Canyon HWY                                                3333 Riverwood Pkwy
Phoenix, AZ 85053                                                        Ste 350
                                                                         Atlanta, GA 30339
High-Tech Institute Holdings, Inc.                                       Community & Southern Bank
1000 Corporate Dr.                                                       3333 Riverwood Pkwy
Suite 500                                                                Ste 350
Fort Lauderdale, FL 33334                                                Atlanta, GA 30339
High-Tech Institute, Inc.                                                Community & Southern Bank
16404 N. Black Canyon HWY                                                3333 Riverwood Pkwy
Phoenix, AZ 85053                                                        Ste 350
                                                                         Atlanta, GA 30339
FCC Holdings, Inc                                                        Community & Southern Bank
1000 Corporate Dr.                                                       3333 Riverwood Pkwy
Suite 500                                                                Ste 350
Fort Lauderdale, FL 33334                                                Atlanta, GA 30339

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                 NAME AND ADDRESS OF CODEBTOR                           NAME AND ADDRESS OF CREDITOR

Education Training Corporation                            Congressional Bank
1000 Corporate Dr.                                        6701 Democracy Blvd, Suite 400
Suite 500                                                 Bethesda, MD 20817
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Congressional Bank
16404 N. Black Canyon HWY                                 6701 Democracy Blvd, Suite 400
Phoenix, AZ 85053                                         Bethesda, MD 20817
High-Tech Institute Holdings, Inc.                        Congressional Bank
1000 Corporate Dr.                                        6701 Democracy Blvd, Suite 400
Suite 500                                                 Bethesda, MD 20817
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Congressional Bank
16404 N. Black Canyon HWY                                 6701 Democracy Blvd, Suite 400
Phoenix, AZ 85053                                         Bethesda, MD 20817
FCC Holdings, Inc                                         Congressional Bank
1000 Corporate Dr.                                        6701 Democracy Blvd, Suite 400
Suite 500                                                 Bethesda, MD 20817
Fort Lauderdale, FL 33334
Education Training Corporation                            Education Lender, LLC
1000 Corporate Dr.                                        19 W. Elm Street
Suite 500                                                 Greenwich, CT 06830
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Education Lender, LLC
16404 N. Black Canyon HWY                                 19 W. Elm Street
Phoenix, AZ 85053                                         Greenwich, CT 06830
High-Tech Institute Holdings, Inc.                        Education Lender, LLC
1000 Corporate Dr.                                        19 W. Elm Street
Suite 500                                                 Greenwich, CT 06830
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Education Lender, LLC
16404 N. Black Canyon HWY                                 19 W. Elm Street
Phoenix, AZ 85053                                         Greenwich, CT 06830
FCC Holdings, Inc                                         Education Lender, LLC
1000 Corporate Dr.                                        19 W. Elm Street
Suite 500                                                 Greenwich, CT 06830
Fort Lauderdale, FL 33334
Education Training Corporation                            GCP Anthem, LLC
1000 Corporate Dr.                                        600 Lexington Ave.
Suite 500                                                 31st Floor
Fort Lauderdale, FL 33334                                 New York, NY 10022
EduTech Acquisition Corporation                           GCP Anthem, LLC
16404 N. Black Canyon HWY                                 600 Lexington Ave.
Phoenix, AZ 85053                                         31st Floor
                                                          New York, NY 10022
High-Tech Institute Holdings, Inc.                        GCP Anthem, LLC
1000 Corporate Dr.                                        600 Lexington Ave.
Suite 500                                                 31st Floor
Fort Lauderdale, FL 33334                                 New York, NY 10022
High-Tech Institute, Inc.                                 GCP Anthem, LLC
16404 N. Black Canyon HWY                                 600 Lexington Ave.
Phoenix, AZ 85053                                         31st Floor
                                                          New York, NY 10022
FCC Holdings, Inc                                         GCP Anthem, LLC
1000 Corporate Dr.                                        600 Lexington Ave.
Suite 500                                                 31st Floor
Fort Lauderdale, FL 33334                                 New York, NY 10022



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                 NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR

Education Training Corporation                            Great Hollow International, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Great Hollow International, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
High-Tech Institute Holdings, Inc.                        Great Hollow International, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Great Hollow International, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
FCC Holdings, Inc                                         Great Hollow International, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
Education Training Corporation                            Riva Capital Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Riva Capital Partners, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
High-Tech Institute Holdings, Inc.                        Riva Capital Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Riva Capital Partners, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
FCC Holdings, Inc                                         Riva Capital Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
Education Training Corporation                            Synovus Bank
1000 Corporate Dr.                                        12450 Roosevelt Blvd N
Suite 500                                                 St Petersburg, FL 33716
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Synovus Bank
16404 N. Black Canyon HWY                                 12453 Roosevelt Blvd N
Phoenix, AZ 85053                                         St Petersburg, FL 33719
High-Tech Institute Holdings, Inc.                        Synovus Bank
1000 Corporate Dr.                                        12451 Roosevelt Blvd N
Suite 500                                                 St Petersburg, FL 33717
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Synovus Bank
16404 N. Black Canyon HWY                                 12452 Roosevelt Blvd N
Phoenix, AZ 85053                                         St Petersburg, FL 33718
FCC Holdings, Inc                                         Synovus Bank
1000 Corporate Dr.                                        12450 Roosevelt Blvd N
Suite 500                                                 St Petersburg, FL 33716
Fort Lauderdale, FL 33334
Education Training Corporation                            Whitecrest Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
In re: FCC Holdings, Inc.                                                                             Schedule H - Co-Debtors
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                 NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR

EduTech Acquisition Corporation                           Whitecrest Partners, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
High-Tech Institute Holdings, Inc.                        Whitecrest Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Whitecrest Partners, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
FCC Holdings, Inc                                         Whitecrest Partners, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
Education Training Corporation                            Abrams Capital Partners I, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Abrams Capital Partners I, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
High-Tech Institute Holdings, Inc.                        Abrams Capital Partners I, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Abrams Capital Partners I, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
FCC Holdings, Inc                                         Abrams Capital Partners I, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
Education Training Corporation                            Abrams Capital Partners II, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Abrams Capital Partners II, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
High-Tech Institute Holdings, Inc.                        Abrams Capital Partners II, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Abrams Capital Partners II, LP
16404 N. Black Canyon HWY                                 21st floor
Phoenix, AZ 85053                                         Boston, MA 02116
FCC Holdings, Inc                                         Abrams Capital Partners II, LP
1000 Corporate Dr.                                        21st floor
Suite 500                                                 Boston, MA 02116
Fort Lauderdale, FL 33334
Education Training Corporation                            BancAlliance Inc.
1000 Corporate Dr.                                        4445 Willard Avenue Suite 1100
Suite 500                                                 Chevy Chase, MD 20815
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           BancAlliance Inc.
16404 N. Black Canyon HWY                                 4448 Willard Avenue Suite 1100
Phoenix, AZ 85053                                         Chevy Chase, MD 20818

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                 NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR

High-Tech Institute Holdings, Inc.                        BancAlliance Inc.
1000 Corporate Dr.                                        4446 Willard Avenue Suite 1100
Suite 500                                                 Chevy Chase, MD 20816
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 BancAlliance Inc.
16404 N. Black Canyon HWY                                 4447 Willard Avenue Suite 1100
Phoenix, AZ 85053                                         Chevy Chase, MD 20817
FCC Holdings, Inc                                         BancAlliance Inc.
1000 Corporate Dr.                                        4445 Willard Avenue Suite 1100
Suite 500                                                 Chevy Chase, MD 20815
Fort Lauderdale, FL 33334
Education Training Corporation                            Bank of Montreal
1000 Corporate Dr.                                        115 South LaSalle Street
Suite 500                                                 Chicago, IL 60603
Fort Lauderdale, FL 33334
EduTech Acquisition Corporation                           Bank of Montreal
16404 N. Black Canyon HWY                                 115 South LaSalle Street
Phoenix, AZ 85053                                         Chicago, IL 60603
High-Tech Institute Holdings, Inc.                        Bank of Montreal
1000 Corporate Dr.                                        115 South LaSalle Street
Suite 500                                                 Chicago, IL 60603
Fort Lauderdale, FL 33334
High-Tech Institute, Inc.                                 Bank of Montreal
16404 N. Black Canyon HWY                                 115 South LaSalle Street
Phoenix, AZ 85053                                         Chicago, IL 60603
FCC Holdings, Inc                                         Bank of Montreal
1000 Corporate Dr.                                        115 South LaSalle Street
Suite 500                                                 Chicago, IL 60603
Fort Lauderdale, FL 33334




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